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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. HASTINGS2015 OK 29Case Number: SCBD-6261Decided: 04/27/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 29, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
JOHN CHRISTOPHER HASTINGS, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information, and Plea, in which John Christopher Hastings entered a plea of guilty to one count of Pointing a Firearm (misdemeanor), in violation of Okla. Stat. Tit. 21, § 1279-80. The OBA also forwarded a certified copy of the Deferred Sentence. 
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that John Christopher Hastings is immediately suspended from the practice of law. John Christopher Hastings is directed to show cause, if any, no later than May 8, 2015, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until May 19, 2015, to respond.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, John Christopher Hastings has until June 4, 2015, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until June 22, 2015, to respond.
¶4 DONE BY ORDER OF THE SUPREME COURT this 27th day of April, 2015.
/S/VICE CHIEF JUSTICE 
Combs, V.C.J., Kauger, Watt, Winchester, Edmondson, Taylor, Colbert and Gurich, JJ., concur
Reif, C.J., recused.




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